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     Patricio Esquivel SBN: 015048
1    RevSolve, Inc.
     1395 N. Hayden Road
2    Scottsdale, AZ 85257
     TEL (480) 467-2360
3    E-MAIL: pesquivel@uscbinc.com
     Attorney for Defendant RevSolve, Inc.
4
5                                    UNITED STATES DISTRICT COURT
6                                        DISTRICT OF ARIZONA
7    Tiana A. Henderson                               )     Case No.: 4:20-cv-00560 TUC-JAS
                                                      )
8                       Plaintiff,                    )
                                                      )
9           v.                                        )     DEFENDANT’S ANSWER AND
                                                      )     AFFIRMATIVE DEFENSES
10   RevSolve, Inc.                                   )
                                                      )
11                                                    )
                        Defendant.                    )
12                                                    )
13
14
                  COMES NOW the Defendant RevSolve, Inc. (the “Defendant”) and as its Answer and
15
     Affirmative Defenses to Plaintiff’s Complaint, states and alleges as follows:
16
                  1.    Defendant submits that the text of the FDCPA will speak for itself and accordingly
17
18   denies the allegations contained in Paragraph No. 1 of Plaintiff’s Complaint.

19                2.    Defendant denies the allegations contained in Paragraph No. 2 of Plaintiff’s
20
     Complaint.
21
                  3.    Defendant admits it does business within the boundaries of the District of Arizona
22
     but denies the remaining allegations contained in Paragraph No. 3 of Plaintiff’s Complaint.
23
24                4.    Defendant is without knowledge or information sufficient to form a belief as to the

25   truth and veracity of the allegations contained in Paragraph No. 4 of Plaintiff’s Complaint and
26
     accordingly denies same.
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                  5.    Defendant denies the allegations in Paragraph No. 5 of Plaintiff’s Complaint.
1
2                 6.    Defendant admits the allegation contained in Paragraph No. 6 of Plaintiff’s

3    Complaint.
4
                  7.    Defendant admits it has a location at 1395 North Hayden Road, Scottsdale, Arizona
5
     85257, but denies the remaining allegations contained in Paragraph No. 7 of Plaintiff’s Complaint.
6
                  8.    Defendant denies the allegations contained in Paragraph No. 8 of Plaintiff’s
7
8    Complaint.

9                 9.    Defendant admits it meets the definition of “debt collector” set forth by 15 USC
10
     §1692a(6). However, with regard to the allegation that Defendant is a “debt collector” for the purposes
11
     of the present action, Defendant is without knowledge or information sufficient to form a belief as to the
12
     truth and veracity of such allegation and accordingly denies the same.
13
14                10.   Defendant is without knowledge or information sufficient to form a belief as to the

15   truth and veracity of the allegations contained in Paragraph No. 10 of Plaintiff’s Complaint and
16
     accordingly denies same.
17
                  11.   Defendant is without knowledge or information sufficient to form a belief as to the
18
     truth and veracity of the allegations contained in Paragraph No. 11 of Plaintiff’s Complaint and
19
20   accordingly denies same.

21                12.   Defendant admits it received a phone call from Plaintiff on November 13, 2020, but
22
     denies the remaining allegations contained in Paragraph No. 12 of Plaintiff’s Complaint.
23
                  13.   Defendant admits the allegations contained in Paragraph No. 13 of Plaintiff’s
24
25   Complaint.

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                  14.   Defendant denies the allegations contained in Paragraph No. 14 of Plaintiff’s
1
2    Complaint.

3                 15.   Defendant denies the allegations contained in Paragraph No. 15 of Plaintiff’s
4
     Complaint.
5
                  16.   Defendant denies the allegations contained in Paragraph No. 16 of Plaintiff’s
6
     Complaint.
7
8                 17.   Defendant denies the allegations contained in Paragraph No. 17 of Plaintiff’s

9    Complaint.
10
                  18.   Defendant denies the allegations contained in Paragraph No. 18 of Plaintiff’s
11
     Complaint.
12
                  19.   Defendant denies the allegations contained in Paragraph No. 19 of Plaintiff’s
13
14   Complaint.

15                20.   Defendant is without knowledge or information sufficient to form a belief as to the
16
     truth and veracity of the allegations contained in Paragraph No. 20 of Plaintiff’s Complaint and
17
     accordingly denies same.
18
                  21.   Defendant denies the allegations contained in Paragraph No. 21 of Plaintiff’s
19
20   Complaint.

21                22.   Defendant denies the allegations contained in Paragraph No. 22 of Plaintiff’s
22
     Complaint.
23
                  23.   Defendant denies the allegations contained in Paragraph No. 23 of Plaintiff’s
24
25   Complaint.

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                  24.   Defendant denies the allegations contained in Paragraph No. 24 of Plaintiff’s
1
2    Complaint.

3                 25.   Defendant repeats and realleges its responses to Paragraphs 1 through 24 of Plaintiff’s
4
     Complaint as though fully set forth herein.
5
                  26.   Defendant is without knowledge or information sufficient to form a belief as to the
6
     truth and veracity of the allegations contained in Paragraph No. 26 of Plaintiff’s Complaint and
7
8    accordingly denies same.

9                 27.   Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
10
     the allegations contained in Paragraph No. 27 of Plaintiff’s Complaint.
11
                  28.   Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
12
     the allegations contained in Paragraph No. 28 of Plaintiff’s Complaint.
13
14                29.   Defendant submits the text of the FDCPA will speak for itself, and accordingly denies

15   the allegations contained in Paragraph No. 29 of Plaintiff’s Complaint.
16
                  30.   Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
17
     the allegations contained in Paragraph No. 30 of Plaintiff’s Complaint.
18
                  31.   Defendant denies the allegations contained in Paragraph No. 31 of Plaintiff’s
19
20   Complaint.

21                32.   Defendant denies the allegations contained in Paragraph No. 32 of Plaintiff’s
22
     Complaint.
23
                  33.   Defendant denies the allegations contained in Paragraph No. 33 of Plaintiff’s
24
25   Complaint.

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                  34.      Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
1
2    the allegations contained in Paragraph No. 34 of Plaintiff’s Complaint.

3                 35.      Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
4
     the allegations contained in Paragraph No. 35 of Plaintiff’s Complaint
5
                  36.      Defendant denies the allegations contained in Paragraph No. 36 of Plaintiff’s
6
     Complaint.
7
8                 37.      Defendant denies the allegations contained in Paragraph No. 37 of Plaintiff’s

9    Complaint.
10
                  38.      Defendant submits the text of the FDCPA will speak for itself, and accordingly denies
11
     the allegations contained in Paragraph No. 38 of Plaintiff’s Complaint.
12
                  39.      Defendant denies the allegations contained in Paragraph No. 39 of Plaintiff’s
13
14   Complaint.

15                40.      Defendant denies the allegations contained in Paragraph No. 40 of Plaintiff’s
16
     Complaint.
17
                  Any allegation of Plaintiff’s Complaint not specifically admitted herein is denied.
18
19                                          AFFIRMATIVE DEFENSES

20          1.          The Plaintiff has failed to state any claims upon which relief may be granted.

21          2.          The Plaintiff’s claims are barred by 15 U.S.C. §1692k(c).
22
            3.          The Plaintiff’s claims are barred by the doctrine of unclean hands.
23
            4.          Plaintiff has not suffered any damages.
24
25          5.          To the extent that Plaintiff claims to have suffered damages, which is disputed by

26   Defendant, Plaintiff has failed to mitigate any such claimed damages.

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            6.      Plaintiff’s claimed damages, if any, were the proximate result of acts or omissions,
1
2    negligent or otherwise, of third persons over whom Defendant exercised no control and for whose acts or

3    omissions Defendant is not responsible.
4
            7.      Defendant reserves the right to add additional defenses presently unknown to it according
5
     to facts that may become known during the course of discovery.
6
            WHEREFORE, Defendant respectfully prays that Plaintiff’s Complaint be dismissed with
7
8    prejudice in its entirety, that Defendant be awarded its reasonable attorneys’ fees and costs incurred

9    to date in defending this action and for such other and further relief as this Court deems proper.
10
            DATED this 6th day of May, 2021.
11
                                                            USCB, Inc.
12
13
                                                      By:   s/ Patricio Esquivel____________________
14                                                          Patricio Esquivel, No. 015048
                                                            RevSolve, Inc.
15                                                          1395 N. Hayden Road
                                                            Scottsdale, AZ 85257
16                                                          TEL (480) 467-2360
                                                            E-MAIL: pesquivel@uscbinc.com
17                                                          Attorney for Defendant, RevSolve, Inc.
18                                            Certificate of Service
19
             I hereby certify that on May 6, 2021, I electronically filed the foregoing with the Clerk of Court
20   using the CM/ECF system which will send notification of such filing to the following e-mail address:

21          jmclaughlin@sulaimanlawgroup.com
22
                                                      By:   s/ Patricio Esquivel____________________
23                                                          Patricio Esquivel, No. 015048
                                                            RevSolve, Inc.
24                                                          1395 N. Hayden Road
                                                            Scottsdale, AZ 85257
25                                                          TEL (480) 467-2360
                                                            E-MAIL: pesquivel@uscbinc.com
26                                                          Attorney for Defendant RevSolve, Inc.
27
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28
